        Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 1 of 6
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               IN THE UNITED STATES DISTRI CT COURT ~' °~ ~~
                                                           eD''~
                                                               Z AS.1k
              FOR THE NORTHERN DI STRICT OF GEORGIA
                        ATLANT A DIVISION

TONY L. WARE, CEO and )
T. L. WARE BOTTLING )
COMPANY, INC .     }
                       }
      Plaintiffs, }
                       }
                                                  Civil Ac ti on
v.              )
                                                  File No. 1 :05-CV-0426MHS
FLEETBOSTON FINANCIAL )
CORP .,                )
flk/a BANKBOSTON CORP ., )

          Defendant.                 )


                      NOTICE OF FILING ORIGINAL
                   AFFIDAVIT OF WILLIAM J. HOLLEY, II

      Defendant F1eetBoston Financial Corporation hereby gives notice of filing

the original of the February 21, 2005 affidavit of William J . Holley, II .

FleetBoston Financial Corporation files this notice by special appearance while

preserving all defenses and objections, including but nod limited to, lack of

personal jurisdiction and insufficient service of process .
       Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 2 of 6




                              Respectfully submitted,

                              PARKER, HUDSON, RAWER & DOBBS LLP



                              By:            ti
                                 it 'am J . Volley, II
                                    Georgia War No . 362310
                                    Nancy H . Baughan
                                    Georgia Bar No . 042575
                                    Michael D. Grider
                                    Georgia Bar No . 310473
1500 Marquis Two Tower
285 Peachtree Center Avenue, N.E.
Atlanta, Georgia 30303
(404)523-5300 (telephone)
(404)420-5549 (facsimile)     Attorneys for FleetBoston Financial Corporation




                                      2
           Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 3 of 6




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

TONY L . WARE, CEO and
T . L . WARE BOTTLING COMPANY,
INC .

                    Pl a i nt if fs ,

V.                                             Civil Action
                                               File No . 1 :05-CV-0426MHS
FLEETBOSTON FINANCIAL CORP .,
f/k/a BANKBOSTON CORP .,                  }

                    Defendant .




                     AFFIDAVIT OF WILLIAM J . HOLLEY, II

      William J . Honey, II, after being duly sworn, states and

deposes :

                                        3. .

      I am over 18 years of age and am otherwise competent to

give this affidavit which I make on personal knowledge .

                                        2.

      I am a partner in the law firm Parker Hudson Rainer & Dobbs

LLP and my business address is 1500 Marquis Two Tower, 285

Peachtree Center, Ave ., N .E ., Atlanta, Georgia                30303 .    Z am

admitted to practice before this Court, before the Supreme Court

of Georgia, and before numerous other courts in the United

States .
       Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 4 of 6




                                    3.

     On February 8, 2005 my firm was retained to represent

FleetBoston Financial Corporation, the named defendant in this

action . At the time my firm was retained, we were provided with

a copy of Judge Brogdon's January 28, 2005 Order and Judge

Lane's February 2, 2005 Order vacating Judge Brogdon's Order .

                                    4.

     On February 8, 2005 I directed a paralegal to travel to the

Clerk's office for the Superior Court of Fulton County and

retrieve all information contained in the Clerk's file . During

the afternoon of February 8, 2005 the paralegal returned to my

office with the file and shortly thereafter I first saw a copy

of the initial pleading in this case and sent it to the

corporate counsel who had retained my firm .

                                    5 .

     On Thursday, February 10, 2005 1 confirmed with a

representative from the Georgia Secretary of State's Office that

the Georgia Secretary of State does not attempt to make any

service on withdrawn corporations . Instead, the Georgia

Secretary of State relies on plaintiffs to make actual service

of complaints .




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                Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 5 of 6




            FURTHER AFFIANT SAYETH NOT .




                                           Wi   i   J . olley, I



Sworn to and subscribed
before me this day
of     - rvc.aVtA
      f26                                       2005 .



Notary Public


My Co ri,~cer
                        &     are t&SGeorgla
          My CommWm Expires March 12, 2007

 (AFFIX NOTARIAL SEAL)


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              Case 1:05-cv-00426-MHS Document 6 Filed 02/22/05 Page 6 of 6




                             CERTIFICATE OF SERVICE

           I hereby certify that I have this day served a copy of the within and

foregoing N OTICE OF FILI NG ORIGINAL AFFIDAVIT OF WILLIAM J.

HOLLEY, IY upon all parties to this matter by causing to be deposited in the U .S .

Mail, proper postage prepaid, a true copy of same addressed as follows :


                        Michael R. Johnson, Sr. (also served via courier)
                        Johnson & Associates, P .C.
                        340 West Peachtree Street, N .E.
                        Suite 200
                        Atlanta, Georgia 30308

                        Dr. Tony L. Ware, PhD, JD
                        Post Office Box 150524 - Dept . 0227
                        Atlanta, Georgia 30315


          This 2-24L., day of February, 2005 .




                                                 William J . olley, II




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